                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Case No. 20-cv-954

 FARHAD AZIMA,

          Plaintiff,

     v.                                            PLAINTIFF’S
                                              MEMORANDUM IN SUPPORT
 NICHOLAS DEL ROSSO and VITAL                   OF MOTION TO SEAL
 MANAGEMENT SERVICES, INC.,

          Defendants.




      Plaintiff Farhad Azima hereby respectfully submits this Memorandum of Law

in Support of his Motion to Seal the following documents: Plaintiff’s Response to

Defendants’ Motion for Protective Order and Exhibits A-G to the Declaration of

Randy Shepard. The material Plaintiff seeks to seal in the Response and Exhibits

includes references to medical records, protected health information, and other

protected information that has already been placed under seal by the Court, as well

as other personal identifying information that is not of public record.

      For the foregoing reasons, Plaintiff Farhad Azima respectfully requests that

his Motion to Seal be granted, or in the alternative that he be given a reasonable time

to attempt to redact any documents ordered by the Court to be redacted.




     Case 1:20-cv-00954-WO-JLW Document 109 Filed 12/30/22 Page 1 of 4
This, the 30th day of December, 2022.

                         WOMBLE BOND DICKINSON (US) LLP

                         /s/ Ripley Rand
                         Ripley Rand
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                         Counsel for Plaintiff




                                  2

Case 1:20-cv-00954-WO-JLW Document 109 Filed 12/30/22 Page 2 of 4
              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 20-CV-954

FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.


      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice, and sent copies of this Memorandum in Support of Motion to Seal via
email, to the following attorneys:

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                                        3

     Case 1:20-cv-00954-WO-JLW Document 109 Filed 12/30/22 Page 3 of 4
This, the 30th day of December, 2022.

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                               4

Case 1:20-cv-00954-WO-JLW Document 109 Filed 12/30/22 Page 4 of 4
